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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF ILLINOIS

OSBALDO JOSE-NICOLAS,

)
)
Plaintiff, )
)
V. ) Case No. 15-cv-964-NJR-DGW
)
NATHAN BERRY, et al., )
)
Defendants. )

STIPULATION FOR RELEASE OF EXHIBITS

 

It is hereby stipulated by and between Plaintiff and Defendants, through their
respective attorneys, that the exhibits tendered in the above-styled matter be released to
the care, custody and control of the attorney of record for each party, until final
judgment, appeal or motion for new trial has passed.

It is further stipulated that the undersigned attorneys are designated as

custodians of the exhibits listed on the Exhibit List, and that upon request of the Clerk

  
 
 

of Court, they shall deliver said exhibits to

 

Rilaghy for Fae
BZ I EZ

Attorney for Defendants
